Case 2:02-cv-02695-SHI\/| Document 145 Filed 05/25/05 Page 1 of 3 Page|D 108

Fu.at) , a.c;.
iN THE UNITED sTATEs DISTRICT COURT
FoR THE WESTERN DISTRICT oF TENNESSI@§ gsw 35 mt ;\= as

 

 

 

WESTERN DIVISION
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(?!?_]'_._§ .i;:.;:: ;JH:L_ ; :, n .,1 \.
tN\/ENTORY LOCATOR sERVICE, LLC, a . v . , _
Plaintiff,
VS` NO. 02-2695-Ma/P

PARTSBASE, INC.,

Defendant.

 

ORDER GRANTING MOTION TO APPEAR PRO HA C VICE

 

Before the court is the May 24, 2005 motion for admission pro hac vice of Travis M.
PelTy. Mr. Pen'y is__a member in good standing of the bar of the state of Texas and is admitted to
practice before the Supreme Court of Texas and the United States District Court for the Northem
District of Texas. Mr. Pel‘ry has obtained and is familiar With the local rules and professional
guidelines of this court. F or good cause shown, the motion is granted and Travis M. Perry is
admitted to participate in this action as counsel for Plaintiff.

IT ts so oRDERED this 95‘?:135/ OFMay, 2005.

M(/M__

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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UNITED`TATE DISTRIC COURT - WESTERN DISITRCT oFTENNESSEE

   

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Honorable Samuel Mays
US DISTRICT COURT

